
PER CURIAM.
The appellant was convicted of murder in the first degree without recommendation of mercy in the Second Judicial Circuit in and for Leon County, Florida. Subsequently, under authority of Furman v. Georgia,1 the Supreme Court of Florida in Anderson et al. v. State,2 reduced the appellant’s sentence from death to life imprisonment. After argument, and upon careful consideration of the record and briefs in this case, we find no reversible error. Accordingly, the conviction, as previously modified by reduction of sentence, is affirmed.
It is so ordered.
ROBERTS, C. J„ ERVIN, CARLTON, BOYD and DEKLE, JJ., and WIGGIN-TON, District Court Judge, concur.

. 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (Opinion filed July 17, 1972).


. 267 So.2d 8 (Opinion filed September 8, 1972).

